 

 

Case 2:19-mj-02871-DUTY Document 3 Filed 08/20/19 Pagelof1 Page ID #:59

RETURN FOR GPS/CELL SITE WARRANT

This return is being submitted pursuant to Federal Rule of
Criminal Procedure 41(f) (2) in relation to the court-authorized
warrant in case no. 2:19-MJ-02871 (the “Warrant”). The Warrant was
signed on July 16, 2019, by the Hon. Paul L. Abrams, United States
Magistrate Judge.

The Warrant authorized the disclosure of GPS and/or cell-site
information relating to the following telephones: Subject Telephone
1 and Subject Telephone 2 (collectively, the “Subject Telephones”),
as described in the Warrant. The Warrant was used to obtain cell-
site and/or GPS information from the Service Provider(s) for the
Subject Telephones from July 22, 2019, at approximately 11:29 a.m.
(PST) to August 1, 2019, at approximately 11:59 p.m. (PST).

I declare under penalty of perjury that I am an officer
involved in the execution of this warrant, that this is a true
notation of the date and time of installation and the period of use
for the Subject Telephones pursuant to the Warrant, and that this
was returned along with the Warrant to the designated judge through

a filing with the Clerk’s Office.

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DATE Logan ( Bonifas, Special Agent
Drug Enforcement Administration
